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UNITED STATES DISTRICT COURT)/9 AUG 22 PH 12: 55
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION — avi aisiaictor ov oy
TAMPA FLORIDA
Charles Edward Lincoln III, §
Plaintiff, §
§ Civil Action No. t
v. i
§  B1O-CN- 20H 3 UCP]
Ron Shelton, §
Robert Stanley Tripka, §
Abigail Lucille Tripka, § Trial-by-jury demanded
USA Realty Group, Inc., § of all issues so triable,
John & Jane Does 1-10, § including all facts and mixed
Defendants. § questions of law and fact

COMPLAINT FOR DAMAGES, DECLARATORY JUDGMENT,
INJUNCTION & EJECTMENT

i Plaintiff Charles Edward Lincoln III received a Warranty Deed
to 122 Harbor Drive in Palm Harbor, Florida 34683 from Robert
Stanley Tripka on or about December 27, 2018 (see Exhibit A).

2. Plaintiff Charles Edward Lincoln III brings this action against
Ron Shelton & Robert Stanley Tripka, all officers and directors of the
purportedly dissolved USA Realty Group, Inc., and John & Jane Does
1-10, for (1) defamation, (2) tortious interference with contract, (3)
intentional infliction of emotional distress, (4) breach of the implied
covenant of good faith & fair dealing, (5) conspiracy to slander &
defame, (6) conspiracy to tortiously interfere with contract, (7)

conspiracy to intentionally inflict emotional distress, (8) declaratory

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judgment regarding the validity of contracts, (9) liability for
indemnity for damages to third parties arising against Ron Shelton &
Robert Stanley Tripka, all officers and directors of the purportedly
dissolved USA Realty Group, Inc., and John & Jane Does 1-10, and
(10) for ejectment against Robert Stanley Tripka, Abigail Lucille
Tripka, and other relatives or business associates of Robert Stanley
Tripka including John & Jane Does 1-10.

3. Ron Shelton is an individual who may be served with process
and summons at his on-line published residence at 11044 Via de Rosa
Lane in Spring Hill, Florida 34608-8540 (Telephone 614-808-5182).
4. Robert Stanley Tripka is an individual who may be served with
process and summons at his known and confirmed residence 122
Harbor Drive, Palm Harbor (Ozona), Florida 34683 (Telephone 727-
458-9135).

5. Robert Stanley Tripka was an officer and registered agent of
USA Realty Group Inc., formerly USA Realty Properties, Inc., possibly
co-owned with Suzanne Hennessey Tripka (also former owner of

Affordable American Housing, Inc., inter alia).
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6. Abigail Lucille Tripka is Robert Stanley Tripka’s adult daughter
(age 20), also known and published on-line as residing at 122 Harbor
Drive in Palm Harbor (Ozona), Florida 34683.

7. The real estate, subject of this lawsuit, 122 Harbor Drive, Palm
Harbor, Florida 34683, is in desperate need of cleaning and repair
due to Robert Stanley Tripka’s neglect over many years owing to
Tripka’s Leukemia and Bladder Cancer.

8. The house has been in foreclosure litigation, and a final decree
of foreclosure in Florida Circuit Court, but Lincoln & Tripka have
contested and continue to contest the legality of the foreclosure sale.
9. In fact, Tripka and Lincoln had agreed to continue to contest
the Wells Fargo Foreclosure forever/indefinitely/as long as possible
and to maintain possession of the property by collateral attack (an
equitable bill of review or other means).

10. Lincoln realized, however, that in all probability, formal
refinancing through hard or credit lenders was probably the only
thing that could possibly preserve ownership of 122 Harbor.

11. Charles Edward Lincoln III set out to refinance the property in
June 2019 during and after filing (and failing for a third time in three

years to qualify for maintaining) a Chapter 11 Bankruptcy.
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JURISDICTION & VENUE
12. There is complete diversity of citizenship and the amount in
dispute substantially exceeds $75,000.00.
13. Plaintiff demands liquidated damages in the minimum amount
of $250,000.00 from the Shelton & the Tripkas.

BACKGROUND TO TRIPKA’S
TORTIOUS INTERFERENCE WITH CONTRACT

14. Despite the foreclosure litigation mentioned above Robert
Stanley Tripka deeded 122 Harbor Drive to Charles Edward Lincoln
III in December 2018, and recorded the deed with Ken Burke, the
Pinellas County Recorder of Deeds (Exhibit A).

15. Robert Stanley Tripka has continued to live at 122 Harbor Drive
after deeding it to Charles Edward Lincoln III until the present day of
filing this lawsuit.

16. In June of 2019, Charles Edward Lincoln III and Robert Stanley
Tripka agreed that they needed money to continue the litigation
against Wells Fargo Bank, and that they would rent out (or potentially
Lincoln would occupy) two bedrooms of the large beach house which

is located at 122 Harbor Drive, where Robert & Abigail Tripka live.
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17. In June-July of 2019, Lincoln and Tripka interviewed several
potential renters, all of whom Robert Stanley Tripka rejected as
possible and potential housemates.

18. Most seriously, Lawrence Paul Barnett & Christina Anne Hall,
signed and executed a short-term lease (attached as Exhibit B), but
did not pay any money down, only because Robert Stanley Tripka
disapproved of them as possible and potential housemates, despite
the fact that they had committed to do substantial cleaning, repair,
and reconstruction work on the house.

19. Lawrence Paul Barnett & Christina Anne Hall have threatened
to file suit against Tripka on grounds rather closely resembling those
asserted here (See Exhibit C).

20. Robert Stanley Tripka has recently been awarded $60,000.00
damages in a personal injury suit resulting from an automobile
wreck, and has been sued in U.S. District Court in Pennsylvania for
Telephone Harassment pursuant to 47. U.S.C. §227 et seq. by one
Andrew Perrong (Eastern District of Pennsylvania Civil Action No.
19-2293).

21. After the Barnett-Hall incident in mid-July, Tripka and Lincoln

agreed that Tripka should vacate his disastrously poorly maintained
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living quarters/half of the property located at 122 Harbor Drive in
Palm Harbor, Florida 34683.

22. After substantial and extended discussions, Robert Stanley
Tripka decided he would move out by August 31, 2019, making the
entire house available for rental on September 1, 2019.

23. Starting on or about Saturday August 17, 2019, Lincoln began to
advertise the entire property for rent and Tripka cooperated in
providing information for the ad, just as Tripka had always
cooperated with Lincoln and Lincoln with Tripka over the past 11
years since approximately March 2008.

24. Lincoln was reluctant to see Tripka leave his old house, but
Tripka insisted that, since about June 2018, he “had no more fight left
in him” and just wanted to move away, and just assist Lincoln very
passively.

25. Lincoln & Tripka agreed that for Robert Stanley Tripka to move
out by August 31, 2019, was best.

26. Lincoln continued to advertise the place and, as one might
expect for a substantial property by the Gulf of Mexico waters, with a

swimming pool and boat dock, in a very fine neighborhood.
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27. There were many interested parties and the property rented on
the first day of showing, with Robert Stanley Tripka involved in each
minute of the showing and engaging in conversation and commentary
with all visitors and on-lookers.

28. Troy P. Johnson & Tracy Lynn Gazarek picked Lincoln (who
does not drive) up at Starbucks in St. Petersburg and drove him in
their vehicle to 122 Harbor Drive in Palm Harbor, Florida, to see the
house and meet with Tripka.

29. Robert Stanley Tripka had repeated his promise to vacate 122
Harbor Drive to Charles Edward Lincoln III, Troy P. Johnson, Tracy
Lynn Gazarek, and other people present at 122 Harbor Drive on
Monday, August 19, 2019, to move out completely by August 31, 2019
so that Troy P. Johnson & Tracy Lynn Gazarek could move in on
September 1, 2019 (see Exhibit D, “Memorandum of Agreement &
Understanding” signed and executed August 21, 2019).

30. On Monday afternoon, August 19, 2019, Robert Stanley Tripka
watched Johnson & Gazarek shake hands with Lincoln and agree to
the lease, and said nothing except to ask them whether they were

aware of the ongoing foreclosure litigation, which of course, they were
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because the historical description and litigation summary took up all
their time driving up US 19 from St. Petersburg to 122 Harbor.

31. Troy P. Johnson & Tracy Lynn Gazarek were very enthusiastic
about the property and Lincoln about having them as tenants.

32. Tuesday, Johnson, Gazarek, & Lincoln negotiated some minor
points in the Memorandum (Exhibit D) and came to a final
agreement on all points.

33. Troy P. Johnson & Tracy Lynn Gazarek met with Lincoln in St.
Petersburg on Wednesday morning 21 August 2019 to finalize the
deal, delivering the executed Memorandum of Agreement and
Understanding, and paid $3300.00 first & last month’s rent by
cashier’s check.

34. Shortly after closing the deal with Troy P. Johnson & Tracy
Lynn Gazarek, Tripka called Lincoln and asked for their number.
Tripka said he wanted to know whether the Johnsons wanted any of
the personal property Tripka would otherwise have to move out.

35. Given the history with L.P. Barnett & Christina Anne Hall,
Lincoln suspected that Tripka’s intent might be to try to cause
trouble, but since the deal was finalized and irrevocable, and given

that Tripka had told Lincoln repeatedly he was having trouble getting
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rid of all his stuff (See Exhibit E about his ex-wife’s washer-dryer),
Lincoln gave Tripka the Johnson’s number.

First Cause: TRIPKA’S DEFAMATION BY SLANDER,
Second: TORTIOUS INTERFERENCE WITH CONTRACT,
and Third Cause of Action:

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
36. Having stood and sat by silently and/or cooperated with
Lincoln all summer, once Lincoln, Johnson, and Gazarek had
finalized their deal, Robert Stanley Tripka called Johnson & Gazarek
and told them that the whole thing was a scam, that Lincoln had

swindled them and that they must demand a return of their money.
37. ROBERT STANLEY TRIPKA also announced that he would
refuse to vacate the premises and Lincoln (and/or Johnson &
Gazarek) would have to evict him from the premises by judicial
proceeding.

38. This one threatened act amounts to both tortious interference
and intentional infliction of emotional distress as well as a breach of
the implied covenant of good faith and fair dealing with Tripka’s old
friend Lincoln, and so this litigation inevitably followed.

39. Robert Stanley Tripka called the Johnsons repeatedly, speaking

to them at least 4 times and calling many more times after Johnson &

Gazarek stopped answering the telephone.
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40. ‘Tripka’s accusations against Lincoln amounted to slander per
se, especially under the unique historical circumstances of the case
and ‘Tripka’s long-term relationship with Lincoln specifically
involving resistance to Wells Fargo’s attempts to foreclose on 122
Harbor Drive in Palm Harbor, Florida 34683.

41. Robert Stanley Tripka’s conduct was extreme and outrageous,
utterly and uncivilized and unwarranted repeated calls to Johnson &
Gazarek. As Troy Johnson aptly observed,

“T feel like I just entered the twilight zone.

Mr. Tripka just called and said you can go ahead and evict him.
He’s nearly out anyway and we need to get our money because he’s
not leaving.”

42. Doubletalk like this would be shocking from a drunk on the
streets, but it is unimaginable from a LICENSED REAL ESTATE
AGENT AND BROKER IN THE STATE OF FLORIDA, which Robert
Stanley Tripka claims to be (this complaint will be forwarded to the
proper state authorities).

43. Just as with Barnett & Hall, Tripka wanted to keep the house for
himself as long as he could and the only way he could do this was to

accuse Lincoln of fraud in precisely the pursuits that Lincoln and

Tripka had engaged for the past dozen years since 2008.

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44. Robert Stanley Tripka has expressly and intentionally designed
his habit of repeatedly, robotically, calling to annoy, harass, and
cause Johnson & Gazarek extreme emotional distress, and DID in fact
cause them extreme emotional distress.

45. This led Troy Johnson & Tracy Gazarek to turn against Lincoln
and transfer Tripka’s harassment onto Lincoln.

46. Robert Stanley Tripka then called Lincoln to accuse Lincoln of
fraud to his face concerning everything that Tripka had been totally
supporting, UNTIL TRIPKA DECIDED TO MOVE OUT OF HIS (and
Abigail Lucille Tripka’s) LONG-TERM HOME AT 122 HARBOR
DRIVE in PALM HARBOR, FLORIDA.

47. Tripka ONLY found it necessary to allege by harassing
announcements over the telephone that (he and) Lincoln might have
been doing something “wrong” when a contract had been signed and
executed with his (Tripka’s) knowledge and in front of his very eyes.
48. Had Tripka been sincere, he could have stopped Lincoln from
advertising or refused to cooperate at any stage, but Tripka wanted to
use Lincoln as a “free E ticket” to stay in his house for free forever,

and that was clearly impossible.

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49. Tripka had no possible justification for his defamation by
slander, for trying to undo the contract which Johnson & Gazarek had
made with Lincoln, or for his extreme and outrageous robotic calls.
50. Because Tripka’s defamed Lincoln by accusations of fraud and
scamming in a business deal, Tripka is liable for damages for
defamation per se in the amount of a minimum of $50,000.00.

51. However, if Tripka actually succeeds in preventing Johnson &
Gazarek from entering the premises and consummating their
contract, this court should find him liable for full damages from the
lost contract in the amount of $250,000.00.

52. This is exactly the same repetitive course of conduct parallel to
that in which Tripka engaged to derail the deal with Lawrence Paul
Barnett & Christina Anne Hall in July 2019, exposing Lincoln to
liability for breach of that arrangement also.

FOURTH CAUSE OF ACTION: BREACH OF IMPLIED
COVENANT OF GOOD FAITH & FAIR DEALING

53. Robert Stanley Tripka and Lincoln worked together for years to
try to save his house at 122 Harbor Drive in Palm Harbor, Florida
34683 from foreclosure. They continued the fight in 2018.

54. To say that Tripka has a right to live there after deeding the

property to Lincoln but that Lincoln cannot rent the property to any

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other person is so preposterous as to constitute a breach of the
implied covenant of good faith and fair dealing.
55. And this, again, is exactly the same repetitive course of conduct
parallel to that in which Tripka engaged to derail the deal with
Barnett & Hall in July 2019, exposing Lincoln to liability for breach of
that arrangement also.
RON SHELTON’S MULTIFACETED

CONSPIRACY WITH TRIPKA
56. About the same time that Lincoln and Tripka first met, Charles
Edward Lincoln III met Ron Shelton during 2008-2009, but they
didn’t get along and have not communicated nor had any other
dealings at all during the past ten years.
57. Robert Stanley Tripka and Ron Shelton remained friends, and
occasionally Tripka would comment on how Ron Shelton didn’t like
Lincoln, but they did nothing and nothing happened.
58. On Wednesday, August 21, 2019, Ron Shelton apparently either
whipped Robert Stanley Tripka into his wild and uncivilized frenzy of
robotic calls or else simply agreed and conspired with Tripka to try to
help Tripka stay in the house at 122 Harbor Drive by turning against

his old friend Lincoln without warning.

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59. Ron Shelton had neither any right nor any direct or indirect
interest either in the transaction between Lincoln and Troy Johnson
& Tracy Gazarek.
60. However, on the morning and midday of Wednesday August 21,
2019, Ron Shelton (calling from (614) 808-5182) joined Tripka in
trying to break the contract Lincoln just closed with these unhappy
people by placing one or more harassing and threatening calls in
support of Tripka.

FIFTH, SIXTH, & SEVENTH CAUSES OF ACTION
61. Ron Shelton agreed and conspired with Robert Stanley Tripka
to engage in defamation per se by slander against Lincoln in
telephone calls placed to Troy Johnson & Tracy Gazarek on
Wednesday, August 21, 2019 for the purpose of making them break
their contract with Lincoln.
62. Ron Shelton agreed and conspired with Robert Stanley Tripka
to interfere without right or privilege of any kind in Lincoln’s contract
with Troy Johnson & Tracy Gazarek (Exhibit D).
63. Ron Shelton agreed and conspired with Robert Stanley Tripka

intentionally to inflict emotional distress on Charles Edward Lincoln

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III by a frenzy of phone calls aimed (ostensibly) at “protecting” Troy
P. Johnson & Tracy Lynn Gazarek.

64. Ron Shelton should be jointly and severally liable with Robert
Stanley Tripka for all of the above-and-foregoing conduct described
herein above, in the minimum amount of $250,000.00.

EIGHTH CAUSE OF ACTION: DECLARATORY JUDGMENT
65. Pursuant to 28 U.S.C. §§2201-2002, Plaintiff Charles Edward
Lincoln III asks this Court to review Exhibits B and C in light of the
circumstances disclosed in those contracts and to declare and adjudge
whether there is anything fraudulent, improper, or invalid in those
contracts.

66. If Charles Edward Lincoln III is forced to hire an attorney
licensed in the State of Florida to represent him in bringing this case
to trial, Lincoln prays that Robert Stanley Tripka, Abigail Lucille
Tripka, and Ron Shelton be ordered to pay all reasonable attorneys’
fees and court costs.

NINTH CAUSE OF ACTION: DECLARATION OF

 

INDEMNITY
67. If Shelton & Tripka succeed in breaking the contract between

Lincoln this Court should declare and adjudge that they are jointly

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and severally liable to indemnify Plaintiff Charles Edward Lincoln III
for all liability he may suffer to Troy P. Johnson & Tracy Lynn
Gazarek, in the amount of at least $75,000.00 and _ potentially
$250.000.00.

68. If Lawrence Paul Barnett & Christina Anne Hall file suit against
Lincoln for what in essence was Tripka’s breach of the implied
covenant of good faith and fair dealing with them, this Court should
declare and adjudge that Tripka must indemnify Lincoln for all
liability to Barnett & Hall.

SPECIAL REMEDY #1: FREEZE ON FUNDS

69. This Court should freeze place a hold on Tripka’s personal
injury award of $60,000.00, which Tripka explained to Lincoln he
may transfer whatever he has to his daughter Abigail Lucille Tripka
since she is in college now.

SPECIAL REMEDY #2: INJUNCTION AGAINST SLANDER &

INFERFERENCE

70. Ron Shelton & Robert Stanley Tripka should be enjoined from
slandering and defaming Charles Edward Lincoln III and from any
further interference with his contracts with any party, and this

injunction should be made permanent.

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TENTH CAUSE OF ACTION: EJECTMENT
71. Robert Stanley Tripka told Troy P. Johnson that I, the
undersigned Plaintiff Charles Edward Lincoln III, should just proceed
to file eviction proceedings in State Court. I may yet have to do so,
but I opt to file for ejectment in this court first.
72. Robert Stanley Tripka has no lease or any other agreement for
occupancy of 122 Harbor Drive, Palm Harbor, Florida 34683 with me
and he promised NOT ONLY ME but also Troy P. Johnson and Tracy
Lynn Gazarek that he would vacate on or before August 31, 2019, so
that they could move in to 122 Harbor Drive in Palm Harbor, Florida
34683.
73. When Tripka “went ape” on Wednesday August 21, 2019, I
asked him what had changed, if he had any new information, and he
said “no.”
74. I move and pray that this Court forcibly eject Robert Stanley
Tripka and Abigail Lucille Tripka from 122 Harbor Drive, Palm
Harbor, Ozona, Florida 34683 together with costs of ejectment,
including attorneys’ fees and costs of court if I am forced to hire an
attorney to complete a trial-by-jury in this case, demand for which I

hereby make and tender.

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JURY DEMAND
75. I demand a trial-by-jury of all issues so triable in this court,
including all questions of fact triable at common law or by statute, as
well as all mixed questions of fact and law, and an advisory jury on all
questions presented for declaratory judgment or other remedial relief.
PRAYER FOR RELIEF

76. Upon final trial, I, the undersigned Plaintiff Charles Edward
Lincoln III, pray for actual damages in the minimum amount of
$250,000.00 and punitive damages jointly and severally against
Robert Stanley Tripka and Ron Shelton in an amount sufficient to
punish these two blaggards for their unprincipled and contemptible
interference and betrayal.

77. I ask that the Court review and evaluate the contracts I had
made with Lawrence Paul Barnett & Christina Anne Hall, which was
neither finalized nor consummated on account of Robert Stanley
Tripka’s interference, and the active contract with Troy P. Johnson
and Tracy Lynn Gazarek, and declare and adjudge whether these
contracts are valid and should be enforced against all parties as

written.

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78. I ask that this Court enjoin Ron Shelton & Robert Stanley
Tripka and Abigail Lucille Tripka from defaming me by slander or
libel, in regard to this case or any other business matter in which they
have neither direct nor indirect interest, after finding that there is no
adequate remedy at law for such defamation per se.

79. Task that this court summarily eject Robert Stanley Tripka and
Abigail Lucille Tripka from 122 Harbor Drive in Palm Harbor, Florida
34683 and issuing a trespass warning to them.

80. I move and request that this Court award me all such other and
further relief as may be warranted at law, in equity, or by statute in
the state of Florida or under the laws of the United States of America.

Respectfully samitted,

   

Thursday
August 22, 2019

Charles Edward Lincoln, Hf, pro se
Plaintiff in propria persona

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